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Case 1:20-cv-11736-LTS Document 53-2 Filed 03/25/22 Page 1 of1

EXHIBIT "B" 3 MONARCH

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Recovery Management, Inc.

3260 Tillman Drive, Suite 75 ¢ Bensalem, PA 19020
Toll Free 1(844) 280-6009 or 1(215) 281-7500 © Hours: M-TH 8am — 9pm EST, F 8am - Spm EST

*ACCOUNT INFORMATION FEBRUARY 12, 2020"
Monarch File #: 28876987 Creditor: FIRST PREMIER BANK
Reference #: weereee9511 Additional Information:

, Balance: $895.77

This is to advise you that your account has been transferred to our office for collection by
FIRST PREMIER BANK

The balance of your account is $895.77.

If you choose not to pay the balance in full, the creditor is willing to accept a settlement of
80% of the balance due, which is *** $716.62 ***. Our client has allowed us to extend you
this offer for as long as Monarch Recovery Management, Inc. services this account. This
offer does not cancel nor override your dispute rights set forth below.

Unless you notify this office in writing within 30 days after receiving this notice that you
dispute the validity of this debt, or any portion thereof, this office will assume that this
debt is valid, If you notify this office in writing within 30 days from receipt of this notice
that the debt, or any portion thereof, is disputed, this office will obtain verification of the
debt or a copy of the judgment against the consumer and a copy of such verification or
judgment and mail it to you. If you request of this office in writing within 30 days after
receiving this notice, this office will provide you with the name and address of the original
creditor, if different from the current creditor.

This is an attempt by a debt collector to collect a debt. Any information obtained will be
used for that purpose. This communication is from a debt collector.

If you have a complaint about the way we are collecting this debt, please write to our Monarch File #
Compliance Center at 3260 Tillman Drive, Suite 75, Bensalem, PA 19020, email us at
compliance@monarchrm.com, or call us toll-free at 1-800-220-0605 ext. 2261, between
9:00 A.M. Eastern Time and 5:00 P.M. Eastern Time Monday-Friday.

Yours truly

MATT FITHIAN DEBT COLLECTOR
TOLL FREE 844-280-6009

28876987

NOTICE OF IMPORTANT RIGHTS:
YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING
YOUR DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL
BE VALID FOR ONLY TEN (10) DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST
POSTMARKED OR DELIVERED WITHIN SEVEN (7) DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS
REQUEST BY WRITING TO THE DEBT COLLECTOR.

Online Scan By Phone | Live Agent
Visit us at Using your smartphone Use our automated system Speak directly to a live agent
Wwww.monarchrm.com ly [a] 24 hours a day to make by calling our call center
and choose “Make A cb payments and much more. Toll Free at
Payment” for account details tr Call 1-800-220-0605 and 1-844-280-6009
or to make a payment. fl choose “pay by phone”.

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* Detach and Return Bottom Portion to Expedite Processing *

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3260 Tillman Drive, Suite 75
Bensalem, PA 19020 $895.77 | 28876987

RETURN SERVICE REQUESTED

February 12, 2020

Make Check Payable to: Monarch Recovery
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SHERWYN ROCKE P.O. BOX 986
BENSALEM PA 19020

Pay Online Easy & Secure: www.monarchrm.com and click ‘Make a Payment'
